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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                          :   Case No.: 22-12860-amc

         Cristiano Zuin                         :

                Debtor                          :   Chapter 13

                           NOTICE OF WITHDRAWAL OF MOTION

TO THE CLERK OF THE ABOVE COURT:

                Kindly withdraw Debtor’s Motion to Vacate Dismissal filed February 28, 2023, at
docket #23.


                                                    Respectfully submitted,

                                            By:      /s/ Jonathan H. Stanwood
                                                    Jonathan H. Stanwood
                                                    Attorney for Debtor
                                                    1617 JFK Blvd., Suite 500
                                                    Philadelphia, Pa 19103
                                                    (215) 569-1040
                                                    Dated: May 16, 2023
